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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

ERPFC Releasing, Inc. (as agent for Crowvision, Inc.)
a California Corporation,                                  Case No. 21-cv-05570

                 Plaintiff,                                Judge Sara L. Ellis

v.                                                         Magistrate Judge Maria Valdez

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

                 Defendants.


                                          NOTICE OF DISMISSAL

            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

     Dismissal, without prejudice, and with leave to reinstate within one hundred and eighty (180) days,

     as to the following Defendants identified on Schedule A:

                              NO.                        DEFENDANT
                              64                          fylkfangzhipin
                              65                         GAuto Resolution
                              112                          SyretPaliShop
                              132                             Zapista
                              142                             陈镖锐
                              149                         2014superstore
                              167                           seriestvrep
                              192                       2011 fashion clothes

          Dated:       February 1, 2022            Respectfully submitted,

                                                   /s/ Sofia Quezada
                                                   Ann Marie Sullivan
                                                   Alison Carter
                                                   Sofia Quezada
                                                   AM Sullivan Law, LLC
                                                   1440 W. Taylor St., Suite 515
                                                   Chicago, Illinois 60607
                                                   E-mail: sjq@amsullivanlaw.com
                                                   ATTORNEYS FOR PLAINTIFF
    Case: 1:21-cv-05570 Document #: 39 Filed: 02/01/22 Page 2 of 2 PageID #:1492




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document was electronically filed on February 1, 2022 with the Clerk of the Court using the

CM/ECF system, which will automatically send an email notification of such filing to all registered

attorneys of record.



                                                         /s/ Sofia Quezada
                                                         Sofia Quezada
